Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 1 of 48 PageID  #:9/24/2021
                                                                        Filed: 5        9:27 AM
                                                                                                                        Clerk
                                           Vanderburgh Circuit Court                              Vanderburgh County, Indiana




 STATE OF INDIANA                         )
                                          )        SS:
 COUNTY OF VANDERBURGH                    )

                            IN THE VANDERBURGH CIRCUIT COURT

 JOHN DOE                       )
                          Plaintiff
                                )
                                )
           v.                   )                          CAUSE NO.         82C01-2109-PL-004615
                                )
 UNIVERSITY OF SOUTHERN INDIANA )
                 Defendant      )

                                              COMPLAINT

         COMES NOW the Plaintiff, by counsel, and for his Complaint against the Defendant,

 University of Southern Indiana (“USI”), alleges and states as follows:1

         1.      Plaintiff, a nineteen-year-old black male, is currently a sophomore student at USI;

 he receives several scholarships and is studying towards a major in Business Administration.

         2.      USI is a state public educational institution located in Evansville, Vanderburgh

 County, Indiana.

         3.      This Court has jurisdiction over the subject matter and persons hereto, and venue

 is proper herein.

         4.      Plaintiff began his freshman year of education at USI during the 2020-2021

 academic school year.

         5.      During the first semester of his freshman year, Plaintiff met a certain white,

 female freshman student (hereinafter referred to as “Jane Doe”).



 1
   Plaintiff, as set forth herein, received notice from USI of the sanction suspending him from school less
 than three (3) days from the imposition of the sanction. As a result of such a short time period, the within
 pleading is not as organized as the undersigned counsel would want—or could normally present to the
 Court.


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                                                EXHIBIT A
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 2 of 48 PageID #: 6




        6.      Jane Doe lived in a USI residence hall with three other white, female students.

        7.      Plaintiff’s USI residence hall and Jane Doe’s residence hall were located next to

 each other.

        8.      Plaintiff and Jane Doe became friends and spent considerable time together with

 mutual friends and Jane Doe’s roommates.

        9.      Plaintiff and Jane Doe also communicated numerous times during any given week

 in person, by phone or through social media platforms, such as Instagram, Snapchat and TikTok.

        10.     On November 13, 2020, Jane Doe, her roommates, and friends began drinking

 alcohol in her USI residence hall apartment.

        11.     Jane Doe drank alcohol heavily and at approximately 2:00 a.m. on November 14,

 2020, Jane Doe texted Plaintiff and invited him to their party.

        12.     Plaintiff thereafter went to Jane Doe’s residence apartment, where she continued

 to drink heavily.

        13.     At one point in the evening Jane Doe began vomiting and then abruptly ran out of

 her apartment to go to another male friend’s USI residence hall apartment.

        14.     At some point in the early morning of November 14, 2020, Jane Doe returned to

 her apartment where the party was continuing, and she continued drinking alcohol until she

 ended up in the bathroom where she began vomiting again.

        15.     Plaintiff and Jane Doe’s roommate helped get Jane Doe into her bed.

        16.     Jane Doe fell out of bed and thereafter returned to the common area of the

 apartment where Plaintiff and others were socializing.




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Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 3 of 48 PageID #: 7




           17.      At approximately 5:30 a.m. on November 14, 2020, Jane Doe went to the

 McDonald’s at 115 Rosenberger Avenue with her roommates and other friends from the party;

 the fast-food restaurant is less than three (3) miles from the USI campus.

           18.      Plaintiff did not go to McDonalds but instead slept in the common area of Jane

 Doe’s apartment until later in the day, and then he went back to his USI residence hall.

           19.      After November 14, 2020, Plaintiff and Jane Doe continued to communicate

 numerous times each week.

           20.      After November 14, 2020, Plaintiff and Jane Doe went to at least one party

 together off USI’s campus, and Jane Doe visited Plaintiff’s residence hall apartment on occasion.

           21.      After the first semester of 2020 was completed, Plaintiff went to his home for

 break and Jane Doe went to her home for break.

           22.      During break, Plaintiff and Jane Doe continued to communicate through text and

 social media platforms numerous times a day and week.

           23.      Plaintiff returned to USI in January 2021 after the break, but Jane Doe did not

 immediately return to campus because of COVID issues.

           24.      On January 7, 2021, and while home, Jane Doe posted a TikTok video she

 created, that included her dancing, and contained text for the video saying “I kissed Seth,” with a

 sexually graphic rap song by Kevin Gates called “Me Too” in the background, including the

 lyrics:

                 She say, bae, I'm nasty, I say, me too

                 I like fucking you in public, she say, me too

                 She don't like using no rubber, I say, me too

                 She wanna fuck me 'cause I'm thuggin', I say, me too




                                                          3
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 4 of 48 PageID #: 8




        25.       When Jane Doe returned to USI, she continued to communicate with Plaintiff

 regularly by text and social media.

        26.       Plaintiff had borrowed less than One Hundred Dollars ($100) from Jane Doe

 during the 202 First Semester. During the break and thereafter, Jane Doe sent angry

 communications to Plaintiff demanding repayment of the money.

        27.       On February 11, 2021, Jane Doe got high smoking marijuana, proceeded to have a

 panic attack and then told her roommates that Plaintiff had “fingered her” without her consent

 during the early morning of November 14, 2020.

        28.       While high on marijuana on February 11, 2021, and after her panic attack, Jane

 Doe did not tell her roommates that Plaintiff had kissed her or touched her breasts on November

 14, 2020.

        29.       One of Jane Doe’s three white roommates called USI’s Public Safety Office

 during the evening of February 11, 2021, to report that Jane Doe had been sexually assaulted by

 Plaintiff on November 14, 2020.

        30.       On February 11, 2021, at approximately 8:30 p.m., a USI public safety officer

 (“Officer”) and a Vanderburgh County Sheriff’s Deputy (“Deputy”) interviewed Jane Doe at her

 apartment.

        31.       The Officer and the Deputy each prepared a written report based on the interview

 with Jane Doe.

        32.       Each report stated that Jane Doe “did not tell her roommates about what happened

 until this week.”




                                                  4
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 5 of 48 PageID #: 9




         33.     Despite the voluminous documented communications between Plaintiff and Jane

 Doe after November 14, 2020, Jane Doe told the Officer and Deputy that she had no

 communication with Plaintiff between November 15, 2020, and February 10, 2021.

         34.     Jane Doe also told the Officer and Deputy that she was wearing a hoodie and no

 bra at the time of the alleged sexual assault.

         35.     Jane Doe did not tell the Officer or Deputy that she was drinking alcohol on

 November 14, 2020, or that she was drunk to the point of vomiting multiple times.

         36.     Jane Doe also told the Deputy that she did not want to pursue criminal charges

 against Plaintiff.

         37.     Jane Doe has stated that she cannot remember events from November 14, 2020.

         38.     On February 25, 2021, Jane Doe submitted a written complaint to USI’s Title IX

 Officer accusing Plaintiff of sexual assault on November 14, 2020, and included certain alleged

 facts relating thereto (the “Title IX Complaint”).

         39.     Upon receipt of the Title IX Complaint, USI purportedly began operating under

 its written sexual assault policy (the “Policy”). A true and correct copy of the Policy is attached

 hereto as Exhibit 1.

         40.     The Policy is intended to comply with the requirements of Title IX (20 U.S.C. §

 1681, et seq.) and its applicable regulations (the “Regulations”).

         41.     Once the Title IX Complaint was filed, USI was obligated under the Policy and

 the Regulations to give Plaintiff notice of the facts then known as to the identity of the accuser,

 the conduct allegedly constituting sexual harassment, and the date and time of the alleged

 incident.




                                                   5
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 6 of 48 PageID #: 10




        42.     USI’s written notice to Plaintiff did not include all the facts then known by USI

 and as outlined in the Title IX Complaint.

        43.     When Plaintiff subsequently requested a copy of the Title IX Complaint, USI

 advised Plaintiff that no written complaint had been filed by Jane Doe.

        44.     USI thereafter retained a lawyer from a Kansas City, Missouri, firm to act as the

 investigator for the Title IX Complaint (the “Investigator”).

        45.     The Investigator was told by USI that the Title IX Complaint involved

 accusations that Plaintiff sexually assaulted Jane Doe on November 14, 2020, by kissing her,

 touching her breasts and digitally penetrating her all without her consent.

        46.     Under the Policy and Regulations, USI is obligated to and responsible for

 gathering the evidence as to the investigation of the Title IX Complaint.

        47.     The Investigator interviewed Jane Doe on April 15, 2021, and May 18, 2021, but

 she did not produce any photos, social media posts or any other evidence relating to

 communications with Plaintiff on or after November 14, 2020.

        48.     Jane Doe stated that she might have something from November 14, 2020, but the

 Investigator never demanded that she produce any such evidence.

        49.     Contrary to what she told the Officer and Deputy on February 11, 2021, Jane Doe

 told the Investigator that she first told her roommate on November 14, 2020, that Plaintiff

 allegedly fingered her; but she did not tell them that it was allegedly nonconsensual.

        50.     The Investigator interviewed Plaintiff on April 27, 2021, and he produced more

 than fifty (50) printed pages of communications between Plaintiff and Jane Doe from November

 15, 2020, to February 10, 2021.




                                                  6
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 7 of 48 PageID #: 11




        51.     Plaintiff also produced to the Investigator photos from November 14, 2020,

 including one showing that Jane Doe was not wearing a hoodie as represented to the Officer and

 Deputy; but rather, she was wearing a jacket and camisole top.

        52.     The Investigator also interviewed two of Jane Doe’s roommates who stated that

 they might have photos from November 14, 2020, but the Investigator did not demand copies of

 any such evidence.

        53.     During the Investigator’s interview with one of Jane Doe’s roommates, the

 roommate advised the Investigator that she had filed a sexual assault complaint against Plaintiff

 with USI after Jane Doe filed the Title IX Complaint.

        54.     It was later learned that the roommate’s sexual assault complaint was based on

 Plaintiff allegedly slapping her once on the butt on November 14, 2020.

        55.     Under USI’s Policy and Regulations, any such alleged sexual assault complaint

 by the roommate was not relevant to the investigation of the Title IX Complaint.

        56.     If, in fact, Jane Doe’s roommate had filed a sexual assault complaint against

 Plaintiff, USI was obligated under the Policy and Regulations to give Plaintiff written notice of

 the same and allow him to defend himself.

        57.     USI has never given Plaintiff notice of a sexual assault complaint filed by Jane

 Doe’s roommate.

        58.     If USI received a sexual assault complaint from Jane Doe’s roommate against

 Plaintiff, USI must have summarily dismissed such complaint without advising Plaintiff.

        59.     USI provided the Investigator with evidence for the Title IX Complaint

 investigation but it did not disclose to the Investigator any information relating to Jane Doe’s

 roommate’s alleged sexual assault complaint or a dismissal thereof.




                                                  7
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 8 of 48 PageID #: 12




         60.     The Investigator is required to limit his investigation to relevant information as to

 the Title IX Complaint.

         61.     Under the Policy and Regulations, prior sexual acts of Plaintiff or Jane Doe were

 not relevant to the investigation of the Title IX Complaint.

         62.     Plaintiff advised the Investigator that he denied the accusations of the Title IX

 Complaint because he never kissed Jane Doe, touched her breasts or fingered her on November

 14, 2020.

         63.     The Investigator completed his investigation and then submitted his report and

 evidentiary materials to USI’s “decision-makers,” who would conduct a hearing on the Title IX

 Complaint.

         64.     Per the Policy and Regulations, the Investigator is not to include or provide

 evidentiary materials that are not relevant to the Title IX Complaint to the decision-makers.

         65.     The Investigator did not redact irrelevant information from the evidentiary

 materials produced to the decision-makers for the hearing; this included testimony from Jane

 Doe’s roommate that she had filed a sexual assault complaint with USI against Plaintiff.

         66.     In April of 2021, Jane Doe contacted the Vanderburgh County Sheriff’s Office

 and stated that she wanted to file criminal charges against Plaintiff relating to the alleged sexual

 assault on November 14, 2020.

         67.     The Sheriff’s Office began an investigation and requested that Jane Doe produce

 her phone for downloading since she stated that she had photos on her phone that were relevant

 to the allegations.

         68.     Jane Doe told the Sheriff’s Office that she would bring her phone in for

 downloading and a date and time was set.




                                                   8
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 9 of 48 PageID #: 13




         69.     Jane Doe did not show on the scheduled date and time to allow the Sheriff’s

 Office to download her phone.

         70.     Jane Doe thereafter communicated to the Sheriff’s Office that she no longer

 wanted to pursue criminal charges against Plaintiff for the alleged sexual assault, and the

 Sheriff’s Office closed its investigation.

         71.     Because of its policy related to sexual assault investigations, the Sheriff’s Office

 would not provide Plaintiff with a copy of its investigation file as to the allegations of Jane Doe

 against Plaintiff.

         72.     Upon information and belief, because of an agreement with USI, the Sheriff’s

 Office did produce its investigation file as to the allegations of Jane Doe against Plaintiff to USI,

 who in turn produced it to the Investigator.

         73.     Upon information and belief, there is an interview of Jane Doe’s roommate by the

 Sheriff’s Office that was given to the Investigator but he did not produce a copy of the same to

 Plaintiff or include it with his investigation file given to the decision-makers.

         74.     After the Investigator completed his investigation and report, USI retained three

 people to act as the decision-makers under the Policy to conduct a hearing on the Title IX

 Complaint, and reach a determination thereon.

         75.     USI retained three white persons, who were physically located throughout the

 country and all employed by the same California company, to act as decision-makers (the

 “Decision-Makers”).

         76.     The Policy states that, “Decision-Makers” means members of the three-person

 panel of trained faculty, staff, and/or administrative officials who are assigned by the Title IX

 Coordinator or designee . . . .”




                                                   9
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 10 of 48 PageID #: 14




         77.     USI did not appoint a panel of USI faculty, staff or administrative officials.

         78.     Two of the three Decisions-Makers had no experience with acting as decision-

  makers in a Title IX proceeding.

         79.     One of the Decision-Makers was a “Senior Solution Specialist” who acted as the

  Hearing Officer under the Policy (the “Hearing Officer”).

         80.     One of the Decision-Makers had just started working for the company.

         81.     Per the Policy and Regulations, the Decision-Makers could only consider relevant

  evidence as to the Title IX Complaint.

         82.     Per the Policy and Regulations, Plaintiff and Jane Doe were allowed to have an

  advisor assist them during the investigation and hearing.

         83.     Per its Policy, USI imposed a “Statement of Rights and Process” for the hearing

  which expressly prohibited Plaintiff’s advisor from raising objections or making statements or

  arguments during the hearing (defined below).

         84.     If the advisor failed to comply with the Policy hearing rules, the advisor would be

  expelled from the hearing.

         85.     Under the Policy and Regulations, only the advisor can cross-examine witnesses

  at a Title IX hearing.

         86.     If Plaintiff’s advisor failed to comply with the Policy hearing rules and was

  expelled, Plaintiff would be alone at the hearing and he could not cross-examine witnesses.

         87.     The Regulations and Policy provide that questions and evidence about a Jane

  Doe’s prior sexual behavior are not relevant, unless (i) such questions and evidence are offered

  to prove that someone other than the accused committed the conduct the Jane Doe alleges, or (ii)




                                                  10
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 11 of 48 PageID #: 15




  if the questions and evidence concern the specific incidents of the Jane Doe’s prior sexual

  behavior with the accused and are offered to prove consent.

         88.     Neither of these exceptions applied to the Title IX Complaint.

         89.     On July 26, 2021, USI issued to Plaintiff a Notice of Administrative Hearing

  which stated that “[Jane Doe] alleges that . . . [Plaintiff] kissed [Jane Doe], touched her breast,

  and digitally penetrated her vagina without her consent.”

         90.     On August 4, 2021, the Decision-Makers conducted a Zoom hearing on the Title

  IX Complaint (the “Hearing”).

         91.     For purposes of the Title IX Complaint, the Policy defines “relevancy” as:

         Having some reasonable connection to and having some value or tendency to
         prove or disprove a matter of factual significance. Questions and evidence about
         the Complainant’s sexual predisposition or prior sexual behavior are not relevant,
         unless offered to prove that someone other than the Respondent committed the
         conduct alleged by the Complainant, or if the questions and evidence concern
         specific incidents of the Complainant’s prior sexual behavior with respect to the
         Respondent and are offered to prove consent.

         92.     At the Hearing, only the Hearing Officer asked questions of witnesses.

         93.     The other two Decision-Makers sat silently and never asked a question or had a

  discussion of the relevancy of any question or evidence.

         94.     The Hearing Officer never addressed the relevancy of any question or evidence.

         95.     Within the first hour of testimony at the Hearing, the Decision-Makers allowed

  Jane Doe to testify about:

                 •   Alleged sexual assaults by Plaintiff of other female students.
                 •   Rape by Plaintiff of at least two other female students.
                 •   Nonconsensual sexual interactions between Plaintiff and other female students.
                 •   Prior sexual acts between Plaintiff and Jane Doe.

         96.     The Decision-Makers allowed Jane Doe to testify about “other girls that

  [Plaintiff] had gotten with and stuff,” that she then talked to those girls and they allegedly said “I


                                                   11
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 12 of 48 PageID #: 16




  had a similar experience with [Plaintiff], or he did that to me, too,” and “oh, [Plaintiff] did this to

  a girl at a party when she was drunk,” and “this is affecting a lot of girls now.”

         97.       The Decision-Makers never stopped Jane Doe or any witness from offering

  irrelevant testimony of Plaintiff allegedly sexually assaulting and raping other girls.

         98.       In fact, the Hearing Officer repeatedly asked questions down this path, such as, but

  in no way limited to:

               •   Asking Jane Doe about Plaintiff allegedly sexually assaulting her roommate.
               •   Asking Jane Doe, “Back in October, [Jane Doe’s roommate] told . . . who that
                   [Plaintiff] had sexually assaulted her?”
               •   Asking Jane Doe if Plaintiff allegedly “Take advantage of girls generally, or take
                   advantage of her friend?”
               •   Asking Jane Doe, “Did you know about all of these girls” that Plaintiff allegedly
                   sexually assaulted?
               •   Asking Jane Doe, “Did you know about all of these girls before you told [your
                   roommates]?”
               •   Asking Jane Doe, “But you personally talked to those girls from the time you told
                   your roommates until the time you made the report?”
               •   Asking Jane Doe, “But when you talked about these other girls that you heard
                   about, what did they say?”
               •   In asking Jane Doe how the other girls’ stories about Plaintiff were allegedly similar
                   to Jane Doe’s claim at issue, she asks “In what way was it similar?”

         99.       Those answers included, but were not limited to, Jane Doe testifying that Plaintiff

  allegedly:

               •   Sexually assaulted other girls.
               •   Made-out with her friend when the friend was “black-out drunk.”
               •   Take advantage of girls.
               •   That Plaintiff “did stuff to other girls when they were really drunk.”
               •   That other girls “had stuff done to them [by Plaintiff] that they did not consent to.
               •   That Plaintiff “raped” a girl “when she was high.”

         100.      The Decision-Makers allowed Jane Doe to testify that other girls were “in

  danger,” that Plaintiff was “hurting people” and “that needs to stop.”




                                                    12
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 13 of 48 PageID #: 17




         101.    Despite it being in direct conflict with the Regulations and the Policy, the Hearing

  Officer asked Jane Doe about her knowledge of Plaintiff allegedly being sexually involved with

  specifically named persons, to which Jane Doe proceeded to testify that Plaintiff “slept with” one

  of the girls, “forced [Plaintiff] on” another and proceeded to “rape” one of these girls “while she

  was high.”

         102.    Aside from the irrelevance of these questions and answers, they are completely

  false and defamatory.

         103.    The Hearing Officer further asked questions of Plaintiff about his prior sexual

  activity with Jane Doe despite its prohibition under the Policy and Regulations as to the Title IX

  Complaint.

         104.    As a result of the Policy and USI’s Statement of Rights and Process for the

  Hearing, there was no means for Plaintiff to stop the flow of irrelevant and prejudicial

  questioning and testimony at the Hearing.

         105.    USI never advised Plaintiff that any other student ever accused him or filed a

  complaint of sexual assault against him.

         106.    Upon information and belief, USI never advised the Investigator that any other

  student ever accused Plaintiff of sexual misconduct or filed a complaint of sexual assault against

  him.

         107.    Upon receipt of the Title IX Complaint and at any time thereafter, USI had the

  right, under the Policy and Regulations, to remove Plaintiff from its educational program or

  activity if it believed he posed a threat to the health or safety of any student or USI community

  member.




                                                  13
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 14 of 48 PageID #: 18




         108.    From the time of filing of the Title IX Complaint through the Hearing, USI never

  exercised its right under the Policy or the Regulations to remove Plaintff from USI’s campus or

  prohibit his involvement in USI events.

         109.    Plaintiff has never been advised by USI that any person in any location or at any

  time has accused him of sexual assault other than Jane Doe.

         110.    Allowing such irrelevant testimony was contrary to the Policy and Regulations,

  showed the bias of the Decision-Makers against Plaintiff, and created a tainted proceeding that

  affected the outcome of the Hearing.

         111.    The procedural and evidentiary irregularities of the Decision-Makers at the

  Hearing were numerous and resulted in a proceeding which was in violation of the requirements

  of the Policy and Regulations.

         112.    Despite stating at the Hearing that certain photos referred to by Jane Doe and her

  roommate witness were “not in evidence,” the Hearing Officer nonetheless proceeded to rely on

  Jane Doe and her roommate’s testimony regarding said photos and used such non-evidence to

  further ask leading questions regarding the same.

         113.    The Hearing Officer never asked for such “non-evidence” to be produced, and

  none were produced to the Investigator by Jane Doe or her roommates.

         114.    The Decision-Makers subsequently used the testimony of the “non-evidence” to

  create their own timeline set forth in the Decision (defined below) as to when the alleged sexual

  assault could have occurred.

         115.    For example, in her formal, written complaint to USI, dated February 25, 2021,

  Jane Doe said that the alleged sexual assault occurred between “2-4 in the morning on Saturday,

  November 14th.”




                                                  14
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 15 of 48 PageID #: 19




         116.    In her interview with the Investigator on April 15, 2021, Jane Doe did not specify

  a time; but, during her second interview with Investigator on May 18, 2021, she said it was

  sometime after 3:30-4:00 a.m. but before 4:45 a.m.

         117.    The Hearing Officer asked Jane Doe the leading question – “could that have been

  about 4:30 [am],” to which Jane Doe replied that it occurred “a bit earlier,” “maybe like 4-4:15

  [a.m.].” The Hearing Officer proceeds to ask this leading question: “But it could have been later

  than [4-4:15 am]?” The Hearing Officer, then states “I am just trying to create a time line

  here,” and further leads Jane Doe to the created timeline, asking – “Would that mean the

  incident that happened with [Plaintiff] occurred between 4:36 and 4:50 [a.m.]?”

         118.    Again relying on the non-evidence to establish a timeline, it should come as no

  surprise that 4:36 – 4:50 a.m. is the exact “window of time” established by the Decision-Makers

  in the Decision as to the alleged sexual assault which formed the basis for finding that Jane

  Doe’s version was “plausible.”

         119.    These photos were neither part of the July 15, 2021, Investigative Report, nor

  were they produced at the Hearing to prove their existence or any other fact.

         120.    The Hearing Officer never asked Jane Doe and her roommate to submit the

  alleged photos as evidence to actually prove they existed or to show those photos provided

  relevant evidence.

         121.    After the Hearing, the Decision-Makers issued their written Title IX Hearing

  Summary and Decision (the “Decision”) on August 4, 2021.

         122.    The Decision first stated:

         Hearing Overview: Allegations of Title IX Sexual Harassment

         This hearing was conducted to determine whether [Plaintiff], (“Respondent”)
         engaged in prohibited conduct in violation of the University of Southern Indiana’s



                                                  15
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 16 of 48 PageID #: 20




         Sexual Harassment Policy by committing Sexual Assault, defined as a forcible
         sex offense, that occurred on November 14, 2020 on the University’s campus in . .
         . Specifically, [Jane Doe] alleged that while in her residence hall room,
         Respondent kissed her, touched her breast, and digitally penetrated her vagina
         without her consent.

         123.    The Decision concluded:

         Considering the totality of the evidence in the record, the Decision-makers find
         that [Jane Doe’s] account is more credible than Respondent’s. Because Jane
         Doe’s account is more credible than Respondent’s, the Decision-makers further
         find that it is more likely than not that in the early morning hours of November
         14, 2020, Respondent touched Jane Doe’s breasts and vagina, and digitally
         penetrated her, without her consent.

         Because it is more likely than not that he engaged in these actions, the Decision-
         Makers find that Respondent violated University policy against Sexual
         Harassment, specifically Rape and Forcible Fondling.

         124.    The Decision then imposed a “Sanction” as follows:

                 •   Suspension, effective fall semester 2021 and eligible to return spring
                     semester 2023
                 •   Title IX Sexual Harassment education following return from
                     suspension

         125.    The Decision-Makers’ procedural irregularities and bias are further evidenced in

  the Decision where they rely upon the photos admittedly “not in evidence” to create their own

  timeline, and then note that the lack of evidence did not allow for “a reliable chronology of

  events.”

         126.    Nonetheless, the Decision then concludes that Jane Doe’s account was plausible

  because of the 4:36 – 4:50 a.m. timeline “created” by the Hearing Officer.

         127.    Thus, the Decision-Makers relied upon photos “not in evidence” to admittedly

  create their own timeline which they then admitted was unreliable, but this timeline formed as

  the basis for the Decision.




                                                  16
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 17 of 48 PageID #: 21




          128.    The Decision-Makers’ bias, procedural irregularity and deficiency is further

  evidenced in the Decision, where they state:

          [Jane Doe’s] account is specific and detailed and has been consistent over time.
          [Jane Doe] has consistently maintained that Respondent helped her into bed, kissed
          her, touched her bare breast under her clothing despite her telling him that she did
          not want to engage in that activity . . .

          129.    Jane Doe’s account has been anything but consistent over time, as she told the

  Investigator that she was too intoxicated to give consent.

          130.    Despite filing the Title IX Complaint, in part, based on sexual assault from Plaintiff

  allegedly kissing her without her consent on November 14, 2020, less than twenty minutes into

  her testimony at the Hearing, Jane Doe testified that the alleged sexual assault as to “kissing” was

  “consensual.”

          131.    This is evidence of a false report made by Jane Doe in violation of USI’s Student

  Rights and Responsibilities, Section 5.10A.

          132.    Under the Policy, the Decision-Makers are required to include in their written

  determination “A statement of, and rationale for, the result as to each allegation, including any

  finding of responsibility and sanctions or remedies.”

          133.    The Title IX Complaint included a specific allegation of sexual assault as to

  Plaintiff kissing Jane Doe on November 14, 2020.

          134.    The Decision, however, failed to give a decision as to Plaintiff’s responsibility as

  to this kissing allegation.

          135.    By ignoring its obligation under the Policy as to the kissing allegation, the

  Decision-Makers were able to advance the clearly false conclusion that Jane Doe’s story was

  consistent over time.




                                                   17
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 18 of 48 PageID #: 22




         136.    At the Hearing and in the Decision, the Decision-Makers simply ignored this

  inconsistency and Jane Doe’s admission of filing a false sexual assault claim as to kissing under

  her totally false and fabricated theory of events on November 14, 2020.

         137.    The Decision-Makers’ bias, procedural irregularity and deficiency is further

  evidenced by their conclusion in the Decision that Jane Doe’s account is “corroborated” by

  testimony of Jane Doe’s roommate.

         138.    Jane Doe’s roommates each testified that they did not see Plaintiff engage in any

  conduct to support the sexual assault allegations.

         139.    “Corroboration” means to confirm with other evidence, and here, at the Hearing,

  the roommate witness merely repeated what Jane Doe told her which is nothing more than the

  roommate regurgitating the false story that Jane Doe told her when Jane Doe was high on

  marijuana and after having experienced a panic attack on February 11, 2021.

         140.    Another critical example of the Decision-Makers’ bias and procedural irregularity

  involved the standard applied to determine “credibility.”

         141.    The Decision states that the determination of credibility was based, in part, on the

  factor that Plaintiff “has a motivation to falsify information” because he “will likely face a sanction

  if found responsible.”

         142.    The Regulations expressly prohibit such assessment, stating that “credibility

  determinations may not be based on a person’s status as a respondent.”

         143.    The Decision-Makers applied a prohibited standard in assessing factors which

  directly resulted in and affected the outcome.




                                                    18
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 19 of 48 PageID #: 23




         144.    In USI’s communication of August 25, 2021, giving notice of the Decision, USI

  advised Plaintiff that he would face “disciplinary action up to and including dismissal from the

  University,” if he copied or distributed the Decision to anyone other than his advisor.

         145.    Such restriction is not authorized under the Policy or the Regulations, and has the

  effect of preventing Plaintiff from providing the same to his parents or others to assist him with

  the irregularities, violations and deficiencies outlined, in part, herein, to help him protect his right

  and reputation, and to help him deal with the stress and emotional trauma of the false allegations

  and process deficiencies.

         146.    USI’s threat of discipline further impacted Plaintiff’s ability to protect his rights,

  prevent injustice and equitably present an appeal of the Decision fully establishing the

  irregularities and bias affecting the outcome.

         147.    Plaintiff was prepared to submit the Decision and related documents to an outside

  Title IX expert, who preliminarily opined that if certain scenarios occurred in a Title IX hearing

  or decision, the same would violate the Regulations.

         148.    If Plaintiff had been able to share the Decision and related documents to the Title

  IX expert, it is believed that he would have issued an opinion, based on the actual events relating

  to the Title IX Complaint, that the Hearing and Decision was tainted with bias, prejudicial and

  contrary to the Regulations and the Policy, and that numerous substantive and procedural

  irregularities affected the outcome.

         149.    On September 1, 2021, Plaintiff submitted a written appeal of the Decision to USI

  in accordance with the Policy and Regulations which outlined numerous procedural irregularities

  in the investigation and Hearing, and the bias of the Decision-Makers.

         150.    USI appointed an Indianapolis lawyer as the appellate officer (“Appeal Officer”).




                                                    19
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 20 of 48 PageID #: 24




         151.    Jane Doe had the opportunity to submit a written response to Plaintiff’s appeal but

  she did not.

         152.    On September 22, 2021, the Appeal Officer issued his appeal decision denying

  Plaintiff’s appeal and affirming the Decision-Makers’ Sanctions (the “Appeal Decision”).

         153.    In the Appeal Decision, the Appeal Officer, in response to issues relating to the

  Decision-Makers, stated:

         USI certified that these individuals received the proper training in accordance with
         the law. See § 106.45(b)(10)(i)(D); https://www.usi.edu/sexual-assault-prevention-
         and-response.

         154.    The USI link leads to a page where it lists persons who apparently provided training

  to USI on Title IX issues.

         155.    This link not only includes the Hearing Officer, the other two Decision-Makers and

  the company they work for as providing Title IX training to USI, it also identifies the Appeal

  Officer as having provided training to USI.

         156.    USI never disclosed to Plaintiff that the Hearing Officer, and all Decision-Makers

  through the same company, had a clear conflict of interest in sitting as Decision-Makers.

         157.    If USI’s duties under the Policy and Regulations and in advancing the Title IX

  Complaint were deficient, the Decision-Makers had no incentive to point those out or correct such

  deficiencies because the same could lead to claims against the Hearing Officer and her company

  for negligent training of USI.

         158.    Had USI disclosed such conflict of interest of the Decision-Makers, Plaintiff would

  have objected to such Decision-Makers.

         159.    Such undisclosed conflict of interest is a further violation of the Policy and

  Regulations.




                                                  20
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 21 of 48 PageID #: 25




         160.    In addition, the Appeal Officer has a clear conflict of interest in assessing the appeal

  on the Title IX Complaint.

         161.    If USI’s duties under the Policy and Regulations and in advancing the Title IX

  Complaint were deficient, the Investigator’s and/or the Decision-Makers’ actions were deficient

  and/or contrary to the Policy and Regulations, the Appeal Officer had an incentive to avoid an

  objective review of any deficiencies because the same could lead to a claim against the Hearing

  Officer and/or his law firm for negligent training of USI.

         162.    USI did not disclose the Appeal Officer’s conflict of interest to Plaintiff.

         163.    Had USI disclosed such conflict of interest of the Appeal Officer, Plaintiff would

  have objected to such Appeal Officer.

         164.    Such undisclosed conflict of interest is further inconsistent with the Policy and

  Regulations.

         165.    The Appeal Decision is also deficient and is contrary to the Policy and Regulations.

         166.    The Appeal Decision repeats the threat that the Appeal Decision cannot be shared

  with anyone but Plaintiff or his advisor.

         167.    Plaintiff is facing a life altering “rape” determination, and USI prevents him from

  sharing the Title IX Complaint related decisions and documents to address the emotional trauma

  he is experiencing and to protect his rights.

         168.    The Appeal Decision finds no error at the Hearing in allowing the testimony

  of other alleged rape and sexual assaults by Plaintiff because:

         Here, at the hearing, [Jane Doe’s] testimony about prior acts between the parties
         was clearly focused on consent—their consensual acts on prior occasions, how
         similar consensual acts began on November 14, and how things then advanced
         abruptly and were no longer consensual.




                                                   21
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 22 of 48 PageID #: 26




          169.   This completely ignores the fact that the Title IX Complaint was based on

  Jane Doe’s assertion that the kissing, touching and penetrating was not consensual.

          170.   While asserting that USI’s withholding of Jane Doe’s written complaint

  was not wrongful, the Appeal Decision states, [Plaintiff] and his advisor consistently

  understood exactly what [Jane Doe] alleged.”

          171.   As the Appeal Decision refers to consensual acts occurring on November

  14, 2020, the Appeal Officer clearly did not understand what Jane Doe alleged in the

  Title IX Complaint.

          172.   Plaintiff did not raise the issue of consent because he denied that the

  alleged kissing, touching and penetrating ever occurred on November 14, 2020.

          173.   The Appeal Decision’s rationale is contrary to the Policy and Regulations.

          174.   The Appeal Decision also denies the appeal on the basis that Plaintiff and

  his advisor did not object to any question or other matter at the Hearing.

          175.   This basis directly conflicts with the Policy and USI’s Statement of Rights

  and Process” for the Hearing which expressly prohibits such objections

          176.   The Appeal Decision advances a required course of action that would have

  resulted in the removal of Plaintiff’s advisor from the Hearing and further prejudiced

  Plaintiff.

          177.   The Appeal Decision’s rationale is further contrary to the Policy and Regulations.

          178.   The Appeal Decision does not address the Decision’s deficient and clearly

  erroneous reliance on Jane Doe’s roommates alleged “corroboration.”

          179.   Such omission acknowledges this clear irregularity and procedural defect which

  was part of the rational for the outcome holding Plaintiff responsible.




                                                  22
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 23 of 48 PageID #: 27




         180.    The Appeal Decision further ignores the Policy’s obligation imposed on USI by

  the Policy to gather relevant evidence, and seeks to improperly impose that burden on Plaintiff

  by holding that Plaintiff should have somehow gathered evidence in the possession of Jane Doe

  and her roommates, and thus, attempts to deflect USI’s deficient gathering and disclosure.

         181.    The Appeal Decision refers to Plaintiff as changing his story at the Hearing as to

  “his and Jane Doe’s sexual past.”

         182.    Not only was Plaintiff not asked about the same during the investigation as to

  create any change in story, but he was never asked in the Hearing about any change in story.

         183.    The Appeal Decision acknowledges that there is “traction” to Plaintiff’s appeal

  assertion that the Decision-Makers violated the Regulations by using an improper standard to

  determine credibility.

         184.    In finding no procedural irregularity, the Appeal Decision states that the

  “Preamble” to the Regulations “confronts and resolves the ambiguity.”

         185.    In its analysis, the Appeal Decision relies on the last sentence in the

  section of the Preamble but wholly ignores the actual content preceding that sentence

  which expressly rejects the interpretation in the Appeal Decision:

         The Department agrees with commenters who noted the inappropriateness of
         investigators and decisionmakers drawing conclusions about credibility based on
         a party's status as a complainant or respondent. While the Department appreciates
         the concerns by commenters advocating that the final regulations should permit
         status-based inferences as to a person's credibility, the Department believes that to
         do so would invite bias and partiality. To that end, we disagree with commenters
         who opposed categorical bars on the factors that investigators or decision-makers
         may consider, and who want to partially judge a person's credibility based on the
         person's status as a complainant, respondent, or witness. A process that permitted
         credibility inferences or conclusions to be based on party status would inevitably
         prejudge the facts at issue rather than determine facts based on the objective
         evaluation of evidence, and this would decrease the likelihood that the outcome
         reached would be accurate. The Department disagrees that § 106.45(b)(1)(ii)
         conflicts with the presumption of non-responsibility; in fact, § 106.45(b)(1)(ii)



                                                   23
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 24 of 48 PageID #: 28




         helps to ensure that the presumption is not improperly applied by recipients.
         Section 106.45(b)(1)(iv) affords respondents a presumption of non-responsibility
         until the conclusion of the Determinations of credibility, including of the
         respondent, must be based on objective evaluation of relevant evidence—not on
         inferences based on party status. Both the presumption of non-responsibility and
         this provision are designed to promote a fair process by which an impartial fact-
         finder determines whether the respondent is responsible for perpetrating sexual
         harassment. Every determination regarding responsibility must be based on
         evidence, not assumptions about respondents or complainants. The Department
         disagrees that disregarding party status poses problems for investigators or
         adjudicators or directs them to ignore central factors in reaching credibility
         determinations.

         186.    The Preamble expressly rejects the Appeal Decision’s rationale attempting

  to salvage the Decision-Makers’ reliance on an improper and clearly rejected credibility

  standard.

         187.    The Appeal Decision notice states:

         You are suspended effective 12:00 PM Central Time September 25, 2021,
         through January 1, 2023. During this time, you are not allowed on University
         property

         188.    USI’s handling of the Title IX Complaint was contrary to the Policy and

  Regulations.

         189.    USI’s investigation of the Title IX Complaint, its conduct of Hearing and

  its appeal process, including the Decision and Appeal Decision, were contrary to and in

  violation of the Policy and Regulations, were arbitrary and capricious, were clear error,

  and were intentionally in disregard of Plaintiff’s rights and due process.

                                  COUNT I:
        VIOLATION OF TITLE IX OF THE EDUCATION AMENDMENTS OF 1972
                           ERRONEOUS OUTCOME

         190.    Plaintiff repeats and realleges paragraphs 1-189 of this Complaint as if fully

  asserted herein.




                                                   24
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 25 of 48 PageID #: 29




             191.   Title IX states: “No person in the United States shall, on the basis of sex, be

  excluded from participation in, be deprived the benefits of, or be subjected to discrimination

  under any education program or activity receiving Federal financial assistance.”

             192.   USI receives federal financial assistance and is therefore subject to Title IX.

             193.   As an institution covered by Title IX, USI must comply with all of its

  requirements and the requirements of its applicable regulations.

             194.   The facts alleged in this Complaint demonstrate that USI failed to comply with

  Title IX and its accompanying regulations in multiple respects.

             195.   USI has created a campus environment in which Plaintiff, an accused black male

  student, will be denied the benefits of an education at USI and discriminated against because of

  his sex.

             196.   USI’s investigation, hearing, decisions, appeal, appeal decision and the entire

  disciplinary process was conducted in a manner that was permeated by bias against Plaintiff, and

  causing Plaintiff to be unjustly deprived of educational opportunities on the basis of his sex.

             197.   As a direct result of USI’s discriminatory practices, Plaintiff was denied a

  fundamentally fair investigation, hearing, decision, appeal and appeal decision, and USI reached

  an erroneous outcome in finding against Plaintiff.

             198.   USI violated Plaintiff’s Title IX right to be free from discrimination by

  sanctioning, tolerating, and endorsing procedures and policies which deprived Plaintiff, a male

  student, rights and privileges provided to female students.




                                                     25
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 26 of 48 PageID #: 30




                                      COUNT II:
            VIOLATION OF TITLE IX OF THE EDUCATION AMENDMENTS OF 1972
                             DELIBERATE INDIFFERENCE

          199.   Plaintiff repeats and realleges paragraphs 1-198 of this Complaint as if fully

  asserted herein.

          200.   USI had actual notice of the irresponsible, improper, and sexually biased manner

  in which the allegations against Plaintiff were investigated and adjudicated.

          201.   Despite notice of the failures of its investigative and adjudicative processes, USI,

  its employees and agents failed to correct the deficiencies in the investigation and process and

  were deliberately indifferent to the known failings of its employees and agents responsible for

  those processes.

          202.   USI’s deliberate indifference was motivated by Plaintiff’s gender, and likely his

  race.

          203.   USI sanctioned, tolerated, and endorsed procedures and policies which deprived

  Plaintiff, a black male student, of the rights and privileges provided to female students.

                                    COUNT III:
      42 U.S.C. § 1983: VIOLATION OF RIGHTS SECURED BY THE DUE PROCESS
                     CLAUSE OF THE FOURTEENTH AMENDMENT

          204.   Plaintiff repeats and realleges paragraphs 1-203 of this Complaint as if fully

  asserted herein.

          205.   Section 1983 of Title 42 of the U.S. Code provides in pertinent part:

                 Every person who, under color of any statute, ordinance, regulation,
                 custom, or usage, of any State or Territory or the District of Columbia,
                 subjects, or causes to be subjected, any citizen of the United States or
                 other person within the jurisdiction thereof to the deprivation of any rights,
                 privileges, or immunities secured by the Constitution and laws, shall be
                 liable to the party injured in an action at law, suit in equity, or other proper
                 proceeding for redress . . . .




                                                   26
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 27 of 48 PageID #: 31




         206.    The Fourteenth Amendment to the United States Constitution prohibits states

  from depriving “any person of life, liberty, or property, without due process of law.”

         207.    It is well established that Fourteenth Amendment due process protections are

  required in higher education disciplinary proceedings.

         208.    A person who has been admitted to a public university has a protected liberty

  interest in continuing his education at that university until he has completed his course of study.

  The state cannot deprive a person of this interest without due process of law.

         209.    USI and its employees and agents are state actors subject to the Fourteenth

  Amendment.

         210.    The Due Process Clause of the United States Constitution is implicated by USI’s

  investigation, hearing, appeals, and disciplinary process.

         211.    USI and its employees and agents have a duty to provide USI’s students due

  process of law by and through any and all policies and procedures set forth by USI.

         212.    Plaintiff has a protected liberty interest in pursuing his education, as well as in

  future educational and employment opportunities and occupational liberty, of which he cannot be

  deprived without due process.

         213.    Plaintiff has a constitutional right to be free from arbitrary suspension, dismissal,

  or restrictions on his ability to enter the USI campus.

         214.    Plaintiff’s constitutionally protected liberty interest in his right to continued

  enrollment at USI also arises from the policies, courses of conduct, practices, and understandings

  established by USI.




                                                   27
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 28 of 48 PageID #: 32




          215.    As a direct and proximate result of USI’s investigation, hearing, decision appeals,

  appeal decision and disciplinary process detailed above, USI under color of law deprived

  Plaintiff of the minimal requirements of procedural fairness.

          216.    Accordingly, USI violated Plaintiff’s clearly established rights under the Due

  Process Clause of the Fourteenth Amendment enforceable by 42 U.S.C. § 1983.

                                      COUNT IV:
           42 U.S.C. § 1983: VIOLATION OF RIGHTS SECURED BY THE EQUAL
              PROTECTION CLAUSE OF THE FOURTEENTH AMENDMENT

          217.    Plaintiff repeats and realleges paragraphs 1-216 of this Complaint as if fully

  asserted herein.

          218.    The Equal Protection Clause of the Fourteenth Amendment to the United States

  Constitution prohibits states from denying “to any person . . . the equal protection of the laws.”

          219.    It is well established that the Equal Protection Clause prohibits discrimination

  against individuals on the basis of sex.

          220.    As detailed above, USI, acting under color of law, violated Plaintiff’s clearly

  established right not to be discriminated against on the basis of sex, in violation of the Fourteenth

  Amendment.

                                       COUNT V:
                       BREACH OF CONTRACT – SPECIFIC PERFORMANCE

          221.    Plaintiff repeats and realleges paragraphs 1-220 of this Complaint as if fully

  asserted herein.

          222.    Indiana law imposes an implied contract on the relationship between students and

  universities.

          223.    USI’s written sexual assault policy is intended to comply with the requirements of

  Title IX and its applicable regulations, and gives students accused of sexual misconduct certain



                                                   28
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 29 of 48 PageID #: 33




  rights and outlines the procedures USI must follow in the investigation, hearing, and appeal

  process of sexual misconduct allegations.

          224.    Plaintiff reviewed and relied on USI’s promises in USI’s Policy and in doing so,

  Plaintiff understood he needed to comply with his obligations detailed in the Policy.

          225.    Plaintiff obeyed all institutional rules set forth in the Policy.

          226.    Nevertheless, USI breached its contract with Plaintiff when it failed to follow its

  own policies and procedures and in suspending Plaintiff from USI, as set out in detail above.

          227.    USI acted illegally, arbitrarily, capriciously, and in bad faith when it condoned

  and supported the discriminatory investigation, hearing procedures, and ultimate decision, and by

  affirming the decision on appeal.

          228.    Damages are inadequate to compensate Plaintiff for USI’s wrongful conduct.

          229.    Unless specific performance of the Policy is granted, USI’s material breaches will

  irreparably injure Plaintiff.

          230.    USI’s breaches contributed and will continue to contribute to the ongoing

  violations of Plaintiff’s constitutional rights.

          231.    As a result of USI’s breaches, Plaintiff will be denied the benefits of education at

  his chosen school, he will suffer permanent damage to his reputation and the loss of future

  educational and employment opportunities.

          232.    Accordingly, Plaintiff seeks specific performance of USI’s Policy.

                                             COUNT VI:
                                          JUDICIAL REVIEW

          233.    Plaintiff repeats and realleges paragraphs 1-232 of this Complaint as if fully

  asserted herein.




                                                     29
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 30 of 48 PageID #: 34




          234.      The Appeal Decision was a final agency action specifically directed to the

  Plaintiff, making it ripe for judicial review by this Court.

          235.      As evidenced by the final sentence of the Appeal Decision which states, “[p]lease

  be advised that this is the final decision regarding this incident and no further appeals will be

  considered,” Plaintiff has exhausted his administrative remedies.

          236.      Plaintiff is entitled to judicial review of USI’s action as it was:

              •     arbitrary, capricious, an abuse of discretion, or otherwise not in
                    accordance with law;
              •     contrary to constitutional right, power, privilege, or immunity;
              •     in excess of statutory jurisdiction, authority, or limitations, or short of
                    statutory right;
              •     without observance of procedure required by law; and
              •     unsupported by substantial evidence.

          237.      Plaintiff submits this request for judicial review within thirty (30) days of USI’s

  issuance of the Appeal Decision. Accordingly, Plaintiff’s request is timely.

          238.      Plaintiff will provide the Court with the agency record for review within thirty

  (30) days of the date of this filing.

                                       COUNT VII:
                         PRELIMINARY AND PERMANENT INJUNCTION

          239.      Plaintiff repeats and realleges paragraphs 1-238 of this Complaint as if fully

  asserted herein.

          240.      USI, through its investigation, hearing, appeals, and disciplinary process detailed

  above, violated Title IX and the United States Constitution and materially breached its contract

  with Plaintiff.

          241.      Plaintiff has no adequate remedy at law and will suffer irreparable harm unless

  and until USI is enjoined from sanctioning Plaintiff with a year and one-half suspension from

  USI.


                                                      30
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 31 of 48 PageID #: 35




           242.   Accordingly, Plaintiff seeks a preliminary and permanent injunction enjoining

  USI from enforcing sanctions imposed upon Plaintiff by its Decision.

                                      COUNT VIII:
                              TEMPORARY RESTRAINING ORDER

           243.   Plaintiff repeats and realleges paragraphs 1-242 of this Complaint as if fully

  asserted herein.

           244.   Plaintiff incorporates herein by reference the relief requested in his Verified

  Application for T.R. 65(B) Temporary Restraining Order, which is filed contemporaneously

  herewith.

           245.   Plaintiff will suffer immediate and irreparable injury, loss, or damage before USI

  can be heard in opposition to Plaintiff’s said application.

           246.   As set forth fully in Plaintiff’s said application and the separately filed Attorney’s

  Affidavit, Plaintiff and his attorney have met all of the procedural requirements set forth in T.R.

  65(B).

           247.   Plaintiff thus seeks a temporary restraining order restraining USI from enforcing

  sanctions imposed upon Plaintiff.

           WHEREFORE, Plaintiff John Doe respectfully requests that this Court:

           (a) Enter a Temporary Restraining Order that immediately and without notice enjoins
               the USI from enforcing the sanctions issued against Plaintiff on September 22, 2021;

           (b) Set a hearing for a preliminary injunction;

           (c) For an order compelling performance of the USI’s written sexual assault Policy;

           (d) Vacate and set aside the Decision and Appeal Decision and the resulting sanctions
               and remand the matter to USI to conduct proceedings that adhere to the Policy,
               Regulations and Plaintiff’s constitutional rights;

           (e) For actual and consequential damages in an amount to be determined at trial;




                                                    31
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 32 of 48 PageID #: 36




         (f) For an award of Plaintiff’s reasonable attorneys’ fees and costs incurred in
             prosecuting this action to enforce 42 U.S.C. § 1983 (see, 42 U.S.C. § 1988);

         (g) Ultimately, reinstate Plaintiff John Doe at USI immediately and expunge his
             suspension from his record; and

         (h) All other just and appropriate relief.



                                        Respectfully submitted,

                                        ZIEMER, STAYMAN, WEITZEL & SHOULDERS, LLP


                                        BY: /s/ Keith W. Vonderahe
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                                            kvonderahe@zsws.com
                                            mkoressel@zsws.com

                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 24th day of September, 2021, the foregoing pleading or paper
  was electronically filed using the Indiana E-filing System (IEFS).


                                        /s/ Keith W. Vonderahe
                                        Keith W. Vonderahe




                                                  32
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 33 of 48 PageID
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                                                                         Filed:   37 9:27 AM
                                                                                                                                 Clerk
                                                 Vanderburgh Circuit Court                                 Vanderburgh County, Indiana




Sexual Harassment Policy
Date
2/21

Item
F.1



I.    INTRODUCTION
The University of Southern Indiana   ("University' or "USI") embraces and celebrates the many differences that
exist   among the members   of a dynamic, intellectual, and inclusive community, and strives to maintain an
environment that respects differences and provides a sense of belonging and inclusion for everyone. In
accordance with Title IX of the Educational Amendments Act of 1972 and its implementing regulations, the
University prohibits discrimination on the basis of sex. including Sexual Harassment (as deﬁned below), in its
education programs or activities. This prohibition on sex discrimination includes, but is not limited to.
admission and employment.



||.    SCOPE
The focus of this policy is the protection of educational and employment opportunity regardless of sex for
students, faculty, administrators, and support staff at the University. For students. compliance with this policy
is a term and condition of enrollment at the University. Forfaculty, administrators and support staff,

compliance with this policy is a term and condition of employment with the University.



|||.JUR|SD|CT|ON
This policy applies to all USI faculty. staff, students, and visitors. This policy applies in connection with any USI
education program or activity, whether on or off campus, including academic, educational, extra-curricular,
                     employment (including work—study), and other College programs and activities. The Title IX
athletic, residential.
Coordinator is responsible for determining whether matters fall under the jurisdiction of this policy and may
consult with others, as appropriate, in making this determination. Alleged conduct that does not fall within the
deﬁnition of Sexual Harassment set forth in this policy may be addressed under other applicable policies.



IV. Title IX            Coordinator
The Title   IX                                                       Title IX and other applicable federal and
                 Coordinator oversees the University's compliance with
                                           and resolution of reports of violations of this policy, as well as the
state laws, including review. investigation,
coordination of primary and ongoing training programs and education regarding the deﬁnition of Sexual
Harassment, the scope of the University‘s education program or activity, how to conduct an investigation and
grievance process, including hearings, appeals. and informal resolution processes, and how to serve
impartially, including by avoiding prejudgment of the facts at issue, conﬂicts of interest, and bias. The Title IX
Coordinator may designate other University personnel or external consultants to assist and support
compliance efforts or to act as a designee in cases of conﬂict of interest or in other situations where a designee
is deemed necessary to maintain the University's compliance under this policy and applicable state and federal

laws.


USI has designated Carrie Lynn to serve as     its Title IX   Coordinator. Her contact information   is:



Ms. Carrie Lynn
       Coordinator
Title IX
Wright Administration Building, Forum Wing,       Room    FA171



                                                                                             Last   Updated 02/25/2021
                                                    EXHIBIT 1
1
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 34 of 48 PageID #: 38



8600 University Boulevard
Evansville, Indiana 47712
81 2-464—1703
cnlynn@usi.edu

Dameion Doss        is   USI's fulI-time   Deputy   Civil   Rights   & Title   IX   Coordinator. His contact information         is:



Mr.   Dameion Doss
Deputy  Civil Rights & Title IX Coordinator
Wright Administration Building, Forum Wing,                  Room     171
8600 University Boulevard
Evansville, Indiana       47712
         835
81 2-464-1
ddoss@usi.edu

USI has designated Dr. Shelly Blunt and Laurie Berry to serve as                        its   Deputy Title   IX   Coordinators. Their contact
information is:

Dr. Shelly Blunt
Associate Provost for Academic Affairs
Wright Administration Building, Room 103A
8600 University Boulevard
Evansville, Indiana 47712
812-465-1 61 7
sblunt@usi.edu

Ms. Laurie Berry
Assistant Dean of Students
University Center East, Room 1229
8600 University Boulevard
Evansville, Indiana       47712
812-4644 862
|berry@usi.edu



V. Definitions

Capitalized terms used in this policy have the following meanings:

"Actual Knowledge"   means notice of Sexual Harassment or allegations of Sexual Harassment to USI’s Title IX
Coordinator or any USI ofﬁcial who has authority to institute corrective measures on behalf of the University.
This standard is not met when the only ofﬁcial of the recipient with actual knowledge is the Respondent.

“Adviser”means a person selected by the Complainant or Respondent, or appointed by USI, who may be
present during the Formal Complaint Resolution Process and related meetings. An Advisor may be an attorney.

"Appellate Ofﬁcer"      mea ns the individual designated by the University to decide Appeals in accordance with
Section   VI,   below. The Appellate Ofﬁcer is the Vice President for Finance and Administration or designee.

"Business Days'means           Monday through        Fridays    when the       University's administrative ofﬁces are operational for
business.

"Complainant" means an individual             who    is   alleged to be the victim of conduct that could constitute Sexual
Harassment.

“Consent"       means a clear, knowing, and voluntary agreement to participate in a given activity. To give consent,
individuals      must be awake, of legal age, and have the capacity to reasonably understand the nature of their
actions. Individuals       who   are lncapacitated cannot give consent. Consent can be given by words, conduct, or




2                                                                                                                    Last Updated 02/25/2021
                                                               EXHIBIT 1
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 35 of 48 PageID #: 39



actions, as long as those words, conduct, or actions create mutually understandable, clear permission
regarding willingness to engage in (and the conditions of) sexual activity. Individuals may not use Force or
Coercion as a method of obtaining consent. Consent may be withdrawn by either person at any time, and once
withdrawal of consent is expressed, the sexual activity must stop. Consent to any one form of sexual activity
does not automatically imply consent to engage in any other forms of sexual activity. Previous relationships or
prior consent to engage in sexual activity with any individual does not automatically imply consent to engage in
future sexual acts with the same or other individuals.

"Incapacitated'  means a state in which one cannot make rational or reasonable decisions because one lacks
the capacity to give knowing and voluntary consent (i.e., to understand the ”who, what, when, where, why, or
how" of one's sexual interaction). Sexual activity with someone whom one should know to be, or based on the
circumstances, should reasonably have known to be, Incapacitated (e.g., by alcohol or other drug use, by a
state of unconsciousness or by an apparent or known mental or cognitive disability) constitutes a violation of
this policy.


"Force" means physical violence and or physically imposing one's self on another to gain sexual access. Force
also includes threats or implied threats, or other forms of intimidation that overcome resistance or produce
consent.

"Coercion" means unreasonable and continued pressure for sexual activity. Coercive behavior differs from
seductive behavior based on the type of pressure one uses to get consent from another. Pressure that
continues beyond the following points can be considered coercive: (i) when one makes it clear to another that
one does not want sexual      activity,   (ii)   when one makes it clear to another that one wishes to stop sexual
behavior that already has begun, (iii)           when one makes it clear to another that one does not want to go past a
certain point of sexual interaction.


“Cross Examination" means a party's advisor asking the other party and any witnesses relevant questions and
follow-up questions, including those challenging credibility, at the Live Hearing, directly, verbally, and in real
time,   and never by   a party personally.


"Concurrent Student Conduct Charges" means student conduct charges that do not involve sex discrimination
or Sexual Harassment. but arise out of the same facts or circumstances as a report or compliant of sex
discrimination, or a report or Formal Complaint of Sexual Harassment.

”Decision-Makers"    means members of the three-person panel of trained faculty, staff, and/or administrative
ofﬁcials   who are assigned by the Title IX Coordinator or designee and who hear and reach a determination
regarding a Formal Complaint alleging Sexual Harassment in accordance with the procedures outlined                                 in
SectionVI, below. One of the three Decision-Makers in any hearing shall be the Hearing Ofﬁcer.


"Deliberate Indifference"    means when           a response to Sexual    Harassment          is   clearly   unreasonable   in light   of the
known circumstances.

"Emergency Removal’ means removal of the Respondent from the University’s education program or activity
on an emergency basis following the Universitys individualized assessment and determination that an
immediate threat to the physical health or safety of a student or individual arising from the allegations of
Sexual Harassmentjustiﬂes removal.

"Employee   Who Can Take Corrective Action" means the Title IX Coordinator, Deputy Title IX Coordinator, Dean
of Students, Executive Director of Human Resources, Director of Public Safety, and Assistant Director of Public
Safety

"Formal Complaint" means a document ﬁled by a Complainant or signed by the   Title IX Coordinator alleging
Sexual Harassment against a Respondent and requesting investigation of the allegations.

"Formal Notice" means the written notice the University provides to the parties                        who are known following
receipt of a Formal Complaint.

"Formal Complaint Resolution Process"              is   the process outlined   in   Section   VI,   below.




3
                                                             EXHIBIT 1
                                                                                                               Last   Updated 02/25/2021
      Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 36 of 48 PageID #: 40



      "Hearing Ofﬁce!” means the individual designated by USI who is responsible for managing the conduct of a
      hearing on a Formal Complaint of Sexual Harassment in accordance with the procedures outlined in Section                                VI,

      below. The Hearing Ofﬁcer is also a Decision-Maker.

      “Informal Resolution"           means the process            outlined herein for resolving a Formal Complaint with the voluntary
      written consent of both the Complainant                      and Respondent and consistent with the other conditions and
      procedures set out         in   Section       VI,   below.

      ”Investigative Report"        is a written report prepared by the Investigator that summarizes relevant evidence

      gathered       in   an investigation and relating to a Formal Complaint.

      ”Investigator”       means the trained              individual designated by USI to gather information in        response to a Formal
      Complaint.

      "Live Hearing"        means the hearing before the Decision-Makers, one of which is the Hearing Ofﬁcer, where
                                             live
      each party's advisor                                   in real time — the other party and any witnesses relevant
                                  may ask - directly, verbally, and
      questions and follow-up questions, including those challenging credibility. A Live Hearing may be conducted
      with all parties physically present in the same location or, at the University's discretion, with all parties,
      witnesses, and other participants appearing virtually, with technology enabling them simultaneously to see and
      hear each other.

      "Parties"     means the Complainant(s) and Respondent(s).

      "Preponderance of the Evidence" means more                        likely   than not.

      "Presumption ofNot Responsible" means that the Respondent is presumed not responsible for the alleged
      Sexual Harassment until a determination of responsibility is made at the conclusion of the grievance process.

      "Program or Activity' means locations, events, or circumstances over which the University exercised substantial
      control over both the Respondent and the context in which the Sexual Harassment allegedly occurs, and also
      includes any building owned or controlled by a student organization that is officially recognized by the
      University.


      ”Relevancy' means having some reasonable connection to and having some value or tendency to prove or
      disprove a matter of factual signiﬁcance. Questions and evidence about the Complainant’s sexual
      predisposition or prior sexual behavior are not relevant, unless offered to prove that someone other than the
      Respondent committed the conduct alleged by the Complainant, or if the questions and evidence concern
      speciﬁc incidents of the Complainant’s prior sexual behavior with respect to the Respondent and are offered to
      prove consent.

      "Remedies" means measures designed to restore or preserve equal access to the University's education
      program or activity. Remedies may include supportive measures; however, Remedies need not be non-
      disciplinary or non—punitive and need not avoid burdening the Respondent.


      "Respondent" means an individual                     who has been    alleged to be the perpetrator of conduct that could constitute
      Sexual Harassment.

      "Responsible Employees” means all faculty, all administrators, and certain designated support staff and
      student workers, including Resident Assistants, Public Safety Staff (speciﬁcally, Public Safety Officers.
      Sergeants, Staff Sergeants, Dispatchers, Senior Administrative Assistants, Graduate Assistants, and Student
      Workers), and Dean of Student’s Ofﬁce (speciﬁcally, Senior Administrative Assistants, Administrative Assistants,
      Graduate Assistants, and Case Workers). Responsible Employees who witness or otherwise know, directly or
      indirectly, of any incidents of alleged Sexual Harassment must report it to the Title IX Coordinator.


      "Sexual Harassment"             is   conduct on the basis of sex that         satisfies   one or more of the   following:


”‘3       1.   An employee      of the University conditioning the provision of an aid, beneﬁt, or service of the University on
               an   individual's participation in unwelcome sexual conduct;




      4                                                                                                                      Updated 02/25/2021
                                                                         EXHIBIT 1
                                                                                                                      Last
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 37 of 48 PageID #: 41



    2.    Unwelcome conduct determined by a reasonable person               to be so severe, pervasive, and objectively
          offensive that   it   effectively denies a   person equal access to the University's education programs or
          activities;
    3.    Sexual assault, meaning an offense classiﬁed as a forcible or nonforcible sex offense under the uniform
          crime reporting system of the Federal Bureau of Investigation (https:l/ucr.fbi.gov/nibrs/201 2/resources/
          nibrs-offense-deﬁnitions);
    4.    Dating violence, meaning violence committed by a person: (A) who is or has been in a social relationship
          of a romantic or intimate nature with the victim; and (B) where the existence of such a relationship shall
          be determined based on (i) the length of the relationship; (ii) the type of relationship; and (iii) the
          frequency of interaction between the persons involved in the relationship:
    5.    Domestic violence, meaning felony or misdemeanor crimes of violence committed by a current or former
          spouse or intimate partner of the victim, by a person with whom the victim shares a child in common, by
          a person who is cohabitating with or has cohabitated with the victim as a spouse or intimate partner, by a
          person similarly situated to a spouse of the victim under the domestic or family violence laws of the State
          of Indiana, or by any other person against an adult or youth victim who is protected from that person’s
          actsunder the domestic or family violence laws of the State of Indiana; or
    6.            meaning engaging in a course of conduct directed at a speciﬁc person that would cause a
          Stalking,
          reasonable person to (A) fear for their safety or the safety of others; or (B) suffer substantial emotional
          distress.


"Standard ovaidence" means the standard of evidence used to determine responsibility. The standard of
evidence USI applies to resolve all Formal Complaints of Sexual Harassment, whether against students or
employees, is preponderance of evidence.

"Supportive Measures" means non-disciplinary, non-punitive, individualized services designed to restore or
preserve equal access to USI's educational programs or activities. Supportive Measures may be offered to a
Complainant or Respondent before or after the ﬁling of a Formal Complaint or where no Formal Complaint has
been ﬁled. Supportive Measures may include, but are not limited to:

     -
          Counseling
     -
          Coursework adjustments
     -
          Modiﬁcations of schedules
     -
          Campus      escort services
     -
          Mutual restrictions on contact
     -
          Changes in work or housing locations
     -
          Leaves of absence
     -
          Increased security or monitoring

Supportive Measures provided to a Complainant or Respondent will be kept conﬁdential to the extent feasible.
Options for Supportive Measures will be provided to the parties in writing.

"Title IX    Coordinatof’       means   the individual identiﬁed   in   Section   I,   above.



VI.        Reportl ng

A. Reporting to                  the University

1.       Conﬁdential Reporting

Individuals      who
                  believe that they have experienced behaviors that violate this policy may report conﬁdentially
to a University employee acting in an ofﬁcial capacity as a professional mental health counselor (and those
acting in that role under the supervision of a professional mental health counselor), a University Health Center
employee or a pastoral counselor. Subject to certain limited exceptions under applicable law designed to
protect a student or others from harm, these individuals are statutorily required not to report the information
to University ofﬁcers.




5                                                                                                         Updated 02/25/2021
                                                             EXHIBIT 1
                                                                                                   Last
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 38 of 48 PageID #: 42




2.   Non-Confidential Reporting

In the interest of maintaining a safe and inclusive environment for all members of the University community,
the University encourages all faculty, administrators, support staff, and students to promptly report known or
suspected violations of this policy to the Title IX Coordinator, Deputy Title IX Coordinator, Affirmative Action
Officer, or Public Safety. Reports also may be made to University Responsible Employees.


Afﬁrmative Action Ofﬁcer and Title IX Coordinator
Ms. Carrie Lynn
Wright Administration Building, Forum Wing, Room FA171
8600 University Boulevard
Evansville, Indiana          47712
81 2-464-1   703
cnlynn@usi.edu

Deputy    Civil   Rights     & Title   IX   Coordinator
Mr.   Dameion Doss
Wright Administration Building, Forum Wing,               Room   171
8600 University Boulevard
Evansville, Indiana          47712
81 2-464-1 835
ddoss@usi.edu

Deputy Title        IX    Coordinator
Dr. Shelly Blunt
Associate Provost for Academic Affairs
Wright Administration Building, Room 103A
8600 University Boulevard
Evansville, Indiana 47712
812-465—1 61 7
sblunt@usi.edu

Deputy Title IX Coordinator
Ms. Laurie Berry
Assistant Dean of Students
University Center East, Room 1229
8600 University Boulevard
Evansville, Indiana          47712
81 2-464-1   862
lberry@usi.edu

Public Safety
From your cell phone or outside line: 81 2-492-7777
From campus phones: ext. 7777
(Available for Emergency or After Hours Reporting)


An    individualnot required to report alleged violations of this policy to the person who is engaging in the
                     is

alleged behavior. Anyone may report Sexual Harassment, regardless of whether the person making the report
is the person alleged to be the victim of alleged Sexual Harassment. Reports may be made in person, by mail,

by telephone, by email, or online at https://cm.maxient.com/
reportingform.php?UnivofSouthernlndiana&|ayout_id=1. Reports may be made at any time.



                                                        Upon receipt of a report, the Title IX Coordinator or
designee      contact the Complainant to discuss the availability of Supportive Measures (with or without the
             will
ﬁling of a Formal Complaint), consider the Complainant's wishes with respect to Supportive Measures, and
explain the process for ﬁling a Formal Complaint.




5                                                                                             Updated 02/25/2021
                                                           EXHIBIT 1
                                                                                       Last
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 39 of 48 PageID #: 43



If   the Complainant chooses not to file a Formal Complaint, the Title IX Coordinator may choose to do so. The
Title IX  Coordinator also may advise the Complainant about other available procedures and Supportive
Measures.

Ifthe Complainant or the Title IX Coordinator chooses to ﬁle a Formal Complaint, such Formal Complaint will
be handled in accordance with the Formal Complaint Resolution Process described below.

Additionally, individualswho believe they have experienced Sexual Harassment in violation of this policy may
report conﬁdentially to a University employee acting in an official capacity as a professional mental health
counselor (and those acting in that role under the supervision of a professional mental health counselor), a
University Health Center employee, or pastoral counselor. Subject to certain limited exceptions under
applicable law designated to protect a student or others from harm, these individuals are statutorily required
not to report the information to others, including the   Title IX   Coordinator.


B.    Reporting to Law Enforcement

Individuals are also encouraged to report criminal misconduct to law enforcement. Please note that reporting
options are not mutually exclusive; both internal (University) and external (Law Enforcement) reporting options
may be pursued at the same time. The local law enforcement office with jurisdiction over the University’s
geographic location is the Vanderburgh County Sheriff's Office. Allegations of criminal misconduct occurring
within the Evansville city limits can be reported to the Evansville Police Department. Additionally, the Indiana
State Police (ISP) has state-wide jurisdiction.


Vanderburgh County Sheriff‘s Ofﬁce Operation Center
5607 Highway 41 North
Evansville, IN 47711
Non-emergency telephone: 81 2-421 -6201
Emergency telephone: 911

Evansville Police   Department
15 Northwest Martin Luther Kinng. Boulevard Evansville, IN 47708
Non-emergency telephone: 81 2- 436-7896
Emergency telephone: 911

Indiana State Police (ISP) District 35 Police Post
19411 Highway 41 North
Evansville, IN   47725
Telephone: 81 2-867-2079 or 800—852-3970

While not required, the University strongly encourages anyone who becomes aware of behavior that may
constitute a crime to report the incident to local law enforcement. The University can provide support,
resources, and assistance to those who do so. Regarding the involvement of law enforcement in matters
involving Sexual Harassment, the Complainant has several options, including to: (1) notify law enforcement
authorities; (2) be assisted by campus authorities in notifying law enforcement authorities if the Complainant
chooses; or (3) decline to notify such authorities. The University will comply with the Complainant’s request for
assistance in notifying law enforcement in these matters to the extent legally permitted. The Complainant’s
choice to report to law enforcement will not impact the implementation of supportive measures if applicable.

Regardless of whether a Complainant chooses to notify law enforcement, it is important for a Complainant
who has experienced    sexual assault, dating violence, or domestic violence to seek medical attention and to
preserve evidence potentially by obtaining a forensic medical exam. Preserving evidence may assist in proving
that an alleged criminal offense occurred or may be helpful in obtaining a protective order. The University will
provide written information on where to obtain forensic examinations. Obtaining a forensic examination does
not require the Complainant to ﬁle a police report, but a forensic examination can help preserve evidence in
cases where the Complainant decides to ﬁle a police report at a later date.

In certain instances,    the University may need to report potential criminal misconduct to law enforcement
authorities even    when   the Complainant has decided not to do so. Such circumstances include those in which



7                                                                                             Updated 02/25/2021
                                                     EXHIBIT 1
                                                                                       Last
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 40 of 48 PageID #: 44



there   is  and imminent danger or risk to the Complainant and/or the University community, in which a
             clear
weapon was  involved with the incident, child abuse, or in which the allegations involve sexual misconduct and
the Complainant is under the age of consent. The necessity to report an incident to law enforcement will be
shared with the Complainant.

The   University's Formal Complaint Resolution Process and the legal system work independently from one
another, and the University will proceed with its process as applicable, regardless of action or inaction taken by
outside authorities. If a law enforcement investigation is initiated, the University may pause its procedures
brieﬂy at the request of law enforcement to facilitate their initial evidence gathering. Decisions made or
sanctions imposed through the Formal Complaint Resolution Process are not subject to change if criminal or
civil charges arising from the same misconduct are dismissed, reduced. or rejected in favor of or against the

Respondent.



VII.    Amnesty
Reporting suspected Sexual Harassment is important. The University recognizes that an individual who reports
Sexual Harassment may be engaged in under—age drinking or drug use or other prohibited conduct at or near
the time of the incident reported. To encourage reporting under these circumstances, the University will not
take disciplinary action against a student reporter, student witness, student Complainant, or student
Respondent for their personal use of alcohol or drugs or for other prohibited conduct at or near the time of
the incident reported if such violations do not or did not subject other people to harm. Depending on the
circumstances, similar consideration may be given to employee reporters, employee witnesses, employee
Complainants, and employee Respondents.



VIII.        Emergency Removal
During and before the investigation, emergency measures may be taken to protect the safety or well-being of
members     of the University community. The University may remove a Respondent from its education program
or activity on an emergency basis. No Respondent will be removed until the University has undertaken an
individual safety and risk analysis and determined that an immediate threat to the physical health or safety of
any student or other individual arising from the allegations of Sexual Harassmentjustiﬂes removal. Any
Respondent who is removed will be provided notice and an opportunity to challenge the decision immediately
following removal.

A non-student employee Respondent may be        placed on administrative leave during the pendency of the
resolution process described by this Policy.



IX.     Formal Complaint Resolution Process
The University's response to a Formal Complaint of Sexual Harassment will treat Complainants and
Respondents equitably and provide a process in which the Title IX Coordinator, Investigator, Decision-Makers.
Hearing Ofﬁcer, Appellate Ofﬁcer, and any facilitator of an Informal Resolution are free from conﬂicts of
interest or bias against the Complainant or Respondent (or against complainants and respondents generally).


These individuals   will receive training on the definition of Sexual Harassment, the scope of Title IX, and how to
serve impartially including by avoiding prejudgment of the facts at issue, conflicts of interest, and bias. These
individuals will also receive training regarding their speciﬁc roles in the process.


The University will strive to complete the Formal Complaint Resolution Process within 60 days of the ﬁling of a
Formal Complaint. The University will conduct the Formal Complaint Resolution Process on a conﬁdential basis,
consistent with the requirements of this Policy and applicable law. The Title IX Coordinator may allow for the
temporary delay of all or part of the Formal Complaint Resolution Process for good cause and will provide
written notice to the Complainant and Respondent of the delay and the reasons therefor.




8                                                                                               Updated 02/25/2021
                                                 EXHIBIT 1
                                                                                         Last
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 41 of 48 PageID #: 45




A.       Presumption

A Respondent         in    a Formal Complaint is presumed not responsible for the alleged conduct until a
determination         is   made regarding responsibility at the conclusion of the Formal Complaint Resolution Process.

B.       Written Notice

Within a reasonable period following receipt of a Formal Complaint, the University                   will   provide Formal Notice
to known parties of:

     -
          The Formal Complaint Resolution Process and Informal Resolution Process
     -
          The allegations potentially constituting Sexual Harassment, including details then-known regarding                       the:
             o   Identities of the parties involved in the incident
             o Conduct allegedly constituting Sexual Harassment
             o Date and location of the alleged incident(s)
     -
          The presumption that the Respondent is not responsible and that a ﬁnding of                 responsibility   is   made    at
          the conclusion of the Formal Complaint'Resolution Process
     -
          The right to an Advisor who may, but is not required to, be an attorney (with agreed upon notice)
     -
          The ability to inspect and review evidence in connection with the Formal Complaint
     -
          The obligation to promptly notify the Title IX Coordinator if they believe the Title IX Coordinator,
          Investigator, Hearing Ofﬁcer, facilitator of any Informal Resolution, Decision-Maker, or Appellate Ofﬁcer
          has a conﬂict of interest or bias

If, during the course of an investigation, the University decides to investigate allegations about the

Complainant or Respondent that were not included in a previous Formal Notice, it will provide notice of the
additional allegations to         known     parties.



C.       Grounds           for Dismissal

The University will dismiss a Formal Complaint for Title IX purposes if it determines at any time after its ﬁling
that the conduct alleged (1 would not constitute Sexual Harassment even if proved, (2) did not occur in the
                                    )

University's education program or activity, or (3) did not occur against a person in the United States. Such a
dismissal does not preclude disciplinary action under other provisions of the University‘s policies, nor does it
preclude the University from using the Formal Complaint Resolution Process outlined in this policy to resolve
such allegations.

The University may dismiss  all or part of a Formal Complaint any time after its filing if: (1) Complainant notiﬁes

the        Coordinator that they wish to withdraw the Formal Complaint or any allegations in it; (2) the
         Title IX
Respondent is no longer enrolled or employed; or (3) speciﬁc circumstances prevent the University from
gathering evidence sufficient to reach a determination.

If   the University dismisses       all   or part of a Formal Complaint under this section,   it   will   promptly notify the
Complainant and Respondent                 in writing.



D. Informal Resolution

A Formal Complaint that does not involve allegations of an employee engaging in Sexual Harassment of a
student may be resolved by Informal Resolution. Informal Resolution may occur any time between the ﬁling of
a Formal Complaint and a determination of responsibility. The Title             IX   Coordinator or designee        will    determine
whether to offer Informal Resolution.

Informal Resolution is intended to create an opportunity for individuals to resolve complaints quickly,
efﬁciently,and to the mutual satisfaction of all parties involved in a safe, non-threatening, and non-
confrontational environment. It is an entirely voluntary process intended to allow the parties involved                       in   an




9                                                                                                         Last Updated 02/25/2021
                                                            EXHIBIT 1
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 42 of 48 PageID #: 46



alleged violation of this policy to discuss their respective understandings of the incident with each other
through the assistance of a   facilitator. Informal Resolution is designed to encourage each person to be honest
and    direct with the other   and to accept personal    responsibility   where appropriate.

Before any Informal Resolution, both the Complainant and Respondent will be given written notice of: (1 ) the
allegations; (2) the circumstances  under which Informal Resolution precludes them from resuming the Formal
Complaint Resolution Process, such as voluntarily agreeing to resolution of the Formal Complaint through
Informal Resolution; (3) their right to withdraw from the Informal Resolution process and resume the Formal
Complaint Resolution Process at any time before agreeing to a resolution; and (4) that Informal Resolution
could result in an agreed-upon sanction, which may appear in certain records pertaining to that individual.

The University will facilitate an Informal Resolution only after the Complainant and Respondent have received
such written notice and provided voluntary, written consent to participate in Informal Resolution.

Upon the voluntary,   written consent of all parties to the Formal Complaint, the Title IX Coordinator or designee
            an appropriate University official or external professional who may be engaged by the University
will identify
for purposes of facilitating a session or series of sessions between the parties. Any resolution developed
through Informal Resolution must be mutually agreed upon by all parties to the Formal Complaint, and any
such resolution will be documented as deemed appropriate to the circumstances. All parties to the Formal
Complaint will be asked to provide signatures signifying their understanding of an agreement to abide by any
such resolution. If an agreement has not been reached within 10 days, a Formal Complaint will automatically
move to the Formal Complaint Resolution Process.


E.    Investigation

Following the ﬁling of a Formal Complaint, the Title IX Coordinator shall designate an Investigator to conduct a
prompt, thorough, fair, and impartial investigation and prepare a written Investigative Report. The Investigator
will typically meet individually with the Complainant and Respondent at least once during an investigation. The
Complainant and Respondent will receive written notice of the date, time, location, and individuals who will be
present for any investigative interview or meeting and will be given sufﬁcient time to prepare. The Complainant
and Respondent may be accompanied by one Advisor at any investigative interview or meeting.

The Complainant and Respondent may advise the Investigator of any witnesses they believe should be
interviewed and any inculpatory or exculpatory evidence including, for example, e-mails. text messages,
photographs, video surveillance, and/or other physical, documentary or other evidence.

The burden of gathering evidence sufﬁcient to reach                                                       on the
                                                             a determination regarding responsibility rests
University. After the Investigator has gathered evidence, both the          Complainant and Respondent (and any
Advisor)     be given the opportunity to inspect and review evidence obtained as part of the investigation that
           will
is                                               Formal Complaint. Within 10 days, the Complainant and
     directly related to the allegations raised in the
Respondent may submit a written response to such evidence. Any written responses will be considered by the
Investigator before completing the Investigative Report.



F.    Investigative Report

The Investigative Report will summarize the relevant evidence. If a Formal Complaint proceeds to a hearing,
the Investigative Report will be sent to both the Complainant and Respondent (and any Advisor) at least 10
days before the hearing. The Complainant and Respondent will be permitted to review the Investigative Report
and provide a written response to the Investigator within 5 days of the date of the Investigative Report.


G. Live Hearing

The Decision-Makers, one of whom is the Hearing Officer, hears a Formal Complaint that proceeds to a
hearing. The purpose of the hearing is for the Decision-Makers to evaluate relevant evidence to determine




10                                                                                             Last   Updated 02/25/2021
                                                     EXHIBIT 1
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 43 of 48 PageID #: 47



whether or not the Respondent is responsible for engaging in Sexual Harassment. If the Decision-Makers
determine that the Respondent is responsible for Sexual Harassment, they also will determine appropriate
sanctions. The Title IX Coordinator cannot serve as a Decision-Maker.



1.    Preparation for the Hearing

The Title   IX   Coordinator or a designee   will   arrange the administrative details for the hearing, including:   (1)
selecting the Decision-Makers; (2) arranging a time and place for the hearing; (3) making the Investigative
Report and evidence directly related to the allegations in the Formal Complaint available at the hearing so that
both Complainant and Respondent will have equal opportunity to refer to such evidence during the hearing;
and  (4) arranging for a Complainant or Respondent who does not have an Advisor to be appointed an Advisor
to conduct cross-examination on behalf of that party at the hearing.


At the request of either Complainant or Respondent, the hearing will occur with the Complainant and the
Respondent located in separate rooms with technology enabling the Decision-Makers, Complainant,
Respondent, Advisers, and any witness(es) to simultaneously see and hear any party or witness answering
questions.


2.    Conduct of the Hearing

The Hearing Ofﬁcer is responsible for managing the conduct of the hearing and ensuring that procedures are
followed. The Hearing Officer facilitates all phases of the hearing and resolves all questions that arise during
the hearing, including but not limited to procedural issues and issues regarding the propriety or relevance of
speciﬁc questions, arguments, and information presented. The Hearing Ofﬁcer also will seek t0 ensure an
orderly and fair exchange of information during the hearing, and in the Hearing Officer‘s or other Decision-
Makers' discretion, may ask questions of any party or witness. If anyone attending the hearing acts without
appropriate respect or decorum, including failure to comply with the Hearing Ofﬁcer's instructions, the Hearing
Ofﬁcer   may take     appropriate action, including requiring that person to leave the hearing.

At the hearing, both Complainant's Advisor and Respondent’s Advisor will have the opportunity to ask the
other party and any witnesses relevant questions and follow—up questions. Only relevant cross-examination
and other questions may be asked of a party or witness. Before a Complainant, Respondent, or witness
answers a question, the Hearing Officer will determine whether the question is relevant. If the Hearing Ofﬁcer
excludes a question as not relevant, they verbally will explain their decision.

Questions that intrude upon a legally recognized privilege will not be permitted unless the privilege has been
affirmatively waived. Questions and evidence about a Complainant's sexual predisposition or prior sexual
behavior are not relevant unless: (1) they are offered to prove that someone other than the Respondent
committed the conduct alleged by the Complainant; or (2) they concern speciﬁc incidents of the Complainant’s
prior sexual behavior with respect to the Respondent and are offered to prove consent.


Ifa Complainant, Respondent, or witness does not submit to cross-examination at the hearing, the Decision-
Makers   will not rely on any statement of that party or witness in reaching a determination regarding
responsibility, nor will the Decision-Makers draw an inference about the determination regarding responsibility
based solely on a party's or witness's absence from the hearing or refusal to answer cross-examination or
other questions.

An audiorecording, audiovisual recording, or a transcript of the hearing will be made and provided to the
Complainant and Respondent for review subsequent to the conclusion of the hearing.


H. Determination Sanctions,                     and Remedies
Following the presentation of information at the hearing, the Decision-Makers will determine whether the
Respondent is responsible for Sexual Harassment. The Decision-Makers will deliberate privately. In deciding,




                                                                                                       Updated 02/25/2021
                                                         EXHIBIT 1
1 1                                                                                             Last
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 44 of 48 PageID #: 48



the Decision-Makers will apply a preponderance of the evidence standard and conclude that Respondent is
responsible for Sexual Harassment if it is "more likely than not." The Decision-Makers will reach a decision by
majority vote.

If   the Decision-Makers determine that Respondent              is   responsible for Sexual Harassment, they       will   deliberate
further to determine appropriate sanctions. The University may implement any of the Supportive Measures
outlined above at any time before or after any ﬁnding of responsibility. However, disciplinary sanctions and
remedies may only be implemented after a ﬁnding of responsibility. Such sanctions and remedies may range
from verbal warnings or mandatory trainings to employment termination for faculty, administrators, and
support staff, and from verbal warnings or mandatory trainings to expulsion for students. The Title IX
Coordinator is responsible for effective implementation of any remedies.


I.    Written Determination

The Decision-Makers will issue a written determination regarding                responsibility.     The written determination       will
include:

      -
           The allegations potentially constituting Sexual Harassment
           The procedural steps from receipt of the Formal Complaint through the written determination
           Findings of fact supporting the determination
           Conclusions regarding the application of the policy to the facts
           A statement of, and rationale for, the result as to each allegation, including any ﬁnding of responsibility
           and sanctions or remedies
      °
           The procedures and permissible grounds for appeal

The written determination         will   be provided to the parties simultaneously.


J.    Appeals

A Complainant, Respondent,          or Title IX Coordinator     may appeal:    (1   )   a determination regarding responsibility; or
(2)       any dismissal of all or part of a Formal Complaint. Appeals are limited to the following grounds:

      -
           Procedural irregula rity that affected the outcome
      -
           New evidence that could affect the outcome but was not reasonably available at the time the
           determination or dismissal was made
      -
           The Title lX Coordinator, Investigator, or Decision-Maker(s) had a conﬂict of interest or bias for or against
           complainants or respondents generally or the individual Complainant or Respondent and that conflict of
           interest or bias affected the outcome


Appeals must be submitted in writing to the Title IX Coordinator or designee within 5 business days of receipt
of the written determination or dismissal. When an appeal is ﬁled by a party, the University will provide notice
to the other party and an opportunity to respond to the appeal in writing within 5 days.


The Appellate Ofﬁcer will       issue a written decision describing the result of the appeal            and the   rationale for   it,

which will be provided to both parties simultaneously. If the appeal is denied, the matter will be closed, and the
ﬁndings will become ﬁnal and not subject to further appeal. If the appeal is granted, the Appellate Ofﬁcer may
(1)       affirm the written determination (which    is   ﬁnal and not subject to further appeal) or (2) remand the case for
a    new and/or additional     investigation   and hearing     (the results of which will be ﬁnal and not subject to further
appeal).

The Appellate Ofﬁcer shall not be the same person as the Decision-Maker(s) that reached the determination
regarding responsibility or dismissal, the Investigator, or the Title           IX      Coordinator.




12                                                                                                              Updated 02/25/2021
                                                            EXHIBIT 1
                                                                                                         Last
Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 45 of 48 PageID #: 49




X. Retaliation                    Prohibited
The University prohibits retaliation against any individual who makes a report, testiﬁes, assists, participates, or
refuses to participate in any manner in an investigation, proceeding, or hearing under this policy. Those found
to have violated this policy’s prohibition on retaliation will be subject to disciplinary action, up to and including
termination of employment for employees and expulsion for students. Any person who believes that someone
has been subjected to retaliation should promptly contact the Title           IX   Coordinator.



XI.      Care and Support Resources
The University is committed to treating all members of the University community with dignity, care, and
respect. Any individual who experiences or is affected by discrimination or harassment, whether as a
Complainant or a Respondent, may beneﬁt from access to care and support resources through the University
and the local community.

The University encourages          all                                    and use all available internal and external
                                         individuals to seek the support of
resources. regardless of when or            where any alleged incident occurred. The following is a non-exhaustive list of
such resources available to the           members    of the University community.

Resources Speciﬁcally for USI Students

     -
         USI Counseling Center
         Orr Center 1051
         Telephone: 81 2-464-1 867
     -
         USI Religious Life Residence Life Resource Center
         Telephone: 81 2-464~1 871
     -
         USI Housing & Residence Life
         Your Resident Assistant or Area Coordinator
         Telephone: 81 2—468-2000
     -
         USI Dean of Students
         Ofﬁce University Center East 1229
         Telephone: 81 2-464-1 862

Resources Speciﬁcally for Beneﬁts-Eligible Faculty and Staff

     -
         Deaconess Concern Employee Assistance Program
         445 Cross Pointe Boulevard, Suite 330
         Evansville. IN 4771 5
         Telephone: 81 2-471 -4611 or 800-874-71 O4

Resources for      all   Members   of the University   Community

     -
         USI Health Center
         Health Professions 0091
         Telephone: 81 2-465-1 250
     -
         Albion Fellows Bacon Center
         P.O. Box 31 64
         Evansville, IN 47731
         Telephone for Domestic Violence: 812—422-5622
         Telephone for Sexual Assault: 81 2-424-7273
         ToII-free: 800-339-7752
     -
         YWCA Evansville
         118 Vine Street
         Evansville, IN   47708
         Telephone: 81 2-422-1 191 or 866-367-9922




13                                                                                                Last   Updated 02/25/2021
                                                          EXHIBIT 1
     Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 46 of 48 PageID #: 50



          -
              Holly‘s House
IA            750 North Park Drive
              Evansville, IN 4771 O
              Telephone: 812-437-7233
          -
              Lampion Center
              655 South Hebron Avenue
              Evansville, IN   47714
              Telephone: 812-471-1776
          -
              Southwestern (Behavioral Health)
              41 5 Mulberry Street
              Evansville, IN   47713
              Telephone: 81 2-423—7791
              24 Hour Suicide    Hotline: 81 2-422-1   1   00


     l.       Miscellaneous
     This policy is not a contract. The University reserves the right to modify the application of these procedures
     consistent with applicable law to provide, in its discretion, equitable treatment of Complainant and
     Respondent.

     Inquiries about the application of Title IX and its implementing regulations may be referred to USI's   Title IX
     Coordinator and/or the Assistant Secretary for the Department of Education's Office of Civil Rights.




     14                                                                                     Last   Updated 02/25/2021
                                                                EXHIBIT 1
         Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 47 of 48 PageID  #:9/24/2021
                                                                                  Filed: 51       9:27 AM
STATE OF INDIANA                       )                                           VANDERBURGH CIRCUIT COURT                                  Clerk
                                                           Vanderburgh Circuit Court                                    Vanderburgh County, Indiana
                                       ) SS:
VANDERBURGH COUNTY                     )                                           CAUSE NO.

JOHN DOE
                           Plaintiff                            SUMMONS                                82C01-2109-PL-004615
         v.

UNIVERSITY OF SOUTHERN INDIANA
                  Defendant

TO ABOVE NAMED DEFENDANT OR DEFENDANTS:
You have been sued by the person(s) named "plaintiff" in the court stated above.
The nature of the suit against you is stated in the complaint which is attached to this document. It also states the demand which the plaintiff
has made and wants from you. You must answer the complaint in writing, by you or your attorney, within twenty (20) days, commencing
the day after you receive this summons, or judgment may be entered against you for what the plaintiff has demanded.
If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in your written answer.
The following manner of service of summons is hereby designated: Personal Service
If not so designated, the clerk shall cause service to be made by mail.
Date: September 24, 2021
ZIEMER, STAYMAN, WEITZEL & SHOULDERS, LLP                                  CARLA J. HAYDEN, CLERK
Attorney for Plaintiff
20 NW First Street, Ninth Floor
P. O. Box 916                                                                                 VC
                                                                           BY:___________________________________Deputy
Evansville, IN 47706-0916                                                            (S E A L)
Phone: 812-424-7575
                                                          CERTIFICATE OF MAILING
I hereby certify that on the _____ day of ________________, 2021, I mailed a copy of this summons and a copy of the complaint to each of
the defendant(s) by (registered or certified) mail, requesting a return receipt signed by the addressee only, addressed to each of said
defendant(s), at the addresses furnished by the plaintiff.
Dated ____________________, 2021.                                          CARLA J. HAYDEN, CLERK

                                                                        BY:___________________________________Deputy
                                           RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify that service of summons with return receipt requested was mailed on the ____ day of ______________, 2021, and that a
copy of the return receipt was received on the ____ day of ______________, 2021, which copy is attached herewith.
Dated ____________________, 2021.                                       CARLA J. HAYDEN, CLERK

                                                                         BY:___________________________________Deputy
                                           RETURN ON SERVICE OF SUMMONS BY SHERIFF
I hereby certify that I have served the within summons:
          1.       By delivering personally on the ____ day of _______________, 2021, a copy of the summons and a copy of the complaint
to each of the within-named defendant(s).
          2.       By leaving on the ____ day of _____________, 2021, for each of the within-named defendant(s) a copy of the summons
and a copy of the complaint at the respective dwelling place of abode with some person of suitable age and discretion whose duties or
activities include prompt communication of such information to the person being served.
          3.       By leaving on the ____ day of _____________, 2021, for each of the within-named defendant(s) a copy of the summons
and a copy of the complaint at the respective or usual place of business or employment with some person of suitable age and discretion
whose usual duties or activities include prompt communication of such information to the person being served.

Whenever service is made on part 2. or 3., there shall be added:
         That on the ____ day of _____________, 2021, I sent by first-class mail a copy of the summons without the complaint to each of
the within-named defendant(s).
                                                                       Sheriff of Vanderburgh County, Indiana
Name and Address:                                                      By____________________________, Deputy

Dr. Ronald S. Rochon, President
University of Southern Indiana
Byron C. Wright Administration Building 101
8600 University Boulevard
Evansville, Indiana 47712
         Case 3:21-cv-00144-RLY-MPB Document 1-1 Filed 09/29/21 Page 48 of 48 PageID  #:9/24/2021
                                                                                  Filed: 52       9:27 AM
STATE OF INDIANA                       )                                           VANDERBURGH CIRCUIT COURT                                  Clerk
                                                           Vanderburgh Circuit Court                                    Vanderburgh County, Indiana
                                       ) SS:
VANDERBURGH COUNTY                     )                                           CAUSE NO.

JOHN DOE
                           Plaintiff                            SUMMONS                                82C01-2109-PL-004615
         v.

UNIVERSITY OF SOUTHERN INDIANA
                  Defendant

TO ABOVE NAMED DEFENDANT OR DEFENDANTS:
You have been sued by the person(s) named "plaintiff" in the court stated above.
The nature of the suit against you is stated in the complaint which is attached to this document. It also states the demand which the plaintiff
has made and wants from you. You must answer the complaint in writing, by you or your attorney, within twenty (20) days, commencing
the day after you receive this summons, or judgment may be entered against you for what the plaintiff has demanded.
If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in your written answer.
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If not so designated, the clerk shall cause service to be made by mail.
Date: September 24, 2021
ZIEMER, STAYMAN, WEITZEL & SHOULDERS, LLP                                  CARLA J. HAYDEN, CLERK
Attorney for Plaintiff
20 NW First Street, Ninth Floor
P. O. Box 916                                                                            VC
                                                                           BY:___________________________________Deputy
Evansville, IN 47706-0916                                                            (S E A L)
Phone: 812-424-7575
                                                          CERTIFICATE OF MAILING
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the defendant(s) by (registered or certified) mail, requesting a return receipt signed by the addressee only, addressed to each of said
defendant(s), at the addresses furnished by the plaintiff.
Dated ____________________, 2021.                                          CARLA J. HAYDEN, CLERK

                                                                        BY:___________________________________Deputy
                                           RETURN ON SERVICE OF SUMMONS BY MAIL
I hereby certify that service of summons with return receipt requested was mailed on the ____ day of ______________, 2021, and that a
copy of the return receipt was received on the ____ day of ______________, 2021, which copy is attached herewith.
Dated ____________________, 2021.                                       CARLA J. HAYDEN, CLERK

                                                                         BY:___________________________________Deputy
                                           RETURN ON SERVICE OF SUMMONS BY SHERIFF
I hereby certify that I have served the within summons:
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and a copy of the complaint at the respective dwelling place of abode with some person of suitable age and discretion whose duties or
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and a copy of the complaint at the respective or usual place of business or employment with some person of suitable age and discretion
whose usual duties or activities include prompt communication of such information to the person being served.

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         That on the ____ day of _____________, 2021, I sent by first-class mail a copy of the summons without the complaint to each of
the within-named defendant(s).
                                                                       Sheriff of Vanderburgh County, Indiana
Name and Address:                                                      By____________________________, Deputy

Aaron C. Trump, Chief Government
  And Legal Affairs Officer
University of Southern Indiana
8600 University Boulevard
Evansville, Indiana 47712
